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                 EXHIBIT A
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                                   Defendant Michael A. Sussmann’s
                         Preliminary Objections to Special Counsel’s Exhibit List

  Exhibit         Bates Number or        Special Counsel’s                   Defendant’s
 Number                Identifier          Description                       Objections
1                FBI Thumbdrives        Physical Evidence      FRE1 901
                 William Priestap
2                Notebook               Physical Evidence      FRE 901
                 Trisha Anderson
3                Notebook               Physical Evidence      FRE 901
4                CIA Thumbdrive         Physical Evidence      FRE 901
                 2016-09-23 US intel
50               officials probe ties   Public Records         FRE 802; FRE 401/402
                 2016-10-08 Tough
                 Donald Trump
51               Coverage               Public Records         FRE 802; FRE 401/402
                                                               FRE 802; FRE 401/402; FRE 403; see
                 2016-10-31 Clinton                            also Def.’s Resp. to SCO’s MILs, ECF
52               tweet                  Public Records         No. 68
                 2016-10-31
                 Investigating Donald
                 Trump, F.B.I. sees
53               no clear               Public Records
                 2016-10-31 Was a
                 Trump Server
54               communicating          Public Records
                 2016-11-01 Was a
                 Trump computer
55               server                 Public Records
                                                               FRE 404(b); see also Def.’s Resp. to
                                                               SCO’s MILs, ECF No. 68 (requesting,
                 2017-12-18                                    among other things, that SCO identity
                 Sussmann, Michael                             which portions of Sussmann’s HPSCI
56               HPSCI                  Public Records         testimony he seeks to admit)
                 2018-10-03 Baker,
57               James HJC              Public Records         FRE 802
                 2018-10-04 Lawyer
                 for Clinton
                 Campaign and DNC
58               gave FBI               Public Records




     1
         As used herein, “FRE” refers to the Federal Rules of Evidence.
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Exhibit       Bates Number or      Special Counsel’s                Defendant’s
Number            Identifier         Description                    Objections
            2018-10-04 Michael
            Sussmann, Hillary
            Clinton Lawyer,
59          gave FBI              Public Records
            2018-10-11 Who is
60          Michael Sussmann      Public Records
            2018-10-18 Baker,
61          James HJC             Public Records       FRE 802
            2018-10-18 Our
            Michael Sussmann is
62          an Honorable          Public Records
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
100         SC-00000139           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
101         SC-00000458           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
102         SC-00000219           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
103         SC-00000221           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
104         SC-00000222           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
105         SC-00000458           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
106         SC-00000459           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
107         SC-00000473           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
108         SC-00000514           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
109         SC-00000516           Records              Gathering of Data, ECF No. 60
                                                       FRE 401/402; FRE 403; see also Def.’s
                                  Antonakakis          MIL to Preclude Evidence Regarding the
110         SC-00000561           Records              Gathering of Data, ECF No. 60

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Exhibit      Bates Number or   Special Counsel’s                 Defendant’s
Number          Identifier       Description                      Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
111         SC-00000732        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
112         SC-00000631        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
113         SC-00000565        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
114         SC-00000567        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
115         SC-00000568        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
116         SC-00000014        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
117         SC-00000577        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
118         SC-00000036        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
119         SC-00000578        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
120         SC-00000570        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
121         SC-00000573        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
122         SC-00000600        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
123         SC-00000603        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
124         SC-00000665        Records             Gathering of Data, ECF No. 60



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Exhibit      Bates Number or   Special Counsel’s                 Defendant’s
Number          Identifier       Description                      Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
125         SC-00000667        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
126         SC-00000671        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
127         SC-00000673        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
128         SC-00000675        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
129         SC-00000021        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
130         SC-00000681        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
131         SC-00000682        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
132         SC-00000023        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
133         SC-00000028        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
134         SC-00000758        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
135         SC-00000760        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
136         SC-00000761        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
137         SC-00000770        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
138         SC-00000031        Records             Gathering of Data, ECF No. 60



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Exhibit      Bates Number or   Special Counsel’s                 Defendant’s
Number          Identifier       Description                      Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
139         SC-00000771        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
140         SC-00000763        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
141         SC-00000774        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
142         SC-00000775        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
143         SC-00000783        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
144         SC-00000787        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
145         SC-00000788        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
146         SC-00000789        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
147         SC-00000792        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
148         SC-00000806        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
149         SC-00000807        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
150         SC-00000908        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
151         SC-00000947        Records             Gathering of Data, ECF No. 60
                                                   FRE 401/402; FRE 403; see also Def.’s
                               Antonakakis         MIL to Preclude Evidence Regarding the
152         SC-00000033        Records             Gathering of Data, ECF No. 60
200         SCO-001600         FBI Records
201         SCO-001631         FBI Records

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 Exhibit      Bates Number or    Special Counsel’s               Defendant’s
 Number          Identifier         Description                   Objections
202          SCO-001633         FBI Records          FRE 802; FRE 401/402
203          SCO-001634         FBI Records          FRE 802; FRE 401/402
204          SCO-001638         FBI Records          FRE 802; FRE 401/402
204A         SCO-001650         FBI Records          FRE 802; FRE 401/402
205          SCO-001651         FBI Records          FRE 802; FRE 401/402
206          SCO-001655         FBI Records
207          SCO-001659         FBI Records
208          SCO-068792         FBI Records
209          SCO-068793         FBI Records
210          SCO-068794         FBI Records
211          SCO-001747         FBI Records
212          SCO-068795         FBI Records
213          SCO-068796         FBI Records
214          SCO-068797         FBI Records
215          SCO-068798         FBI Records
216          SCO-068799         FBI Records
217          SCO-001866         FBI Records
218          SCO-001872         FBI Records
219          SCO-001874         FBI Records
220          SCO-001878         FBI Records
221          SCO-001880         FBI Records          FRE 802
222          SCO-001882         FBI Records          FRE 802
223          SCO-001883         FBI Records          FRE 802
224          SCO-001888         FBI Records          FRE 802
225          SCO-001891         FBI Records          FRE 802; FRE 401/402
226          SCO-001894         FBI Records          FRE 802
227          SCO-001899         FBI Records          FRE 802; FRE 401/402
228          SCO-001904         FBI Records          FRE 802; FRE 401/402
229          SCO-001954         FBI Records
230          SCO-001956         FBI Records
231          SCO-001958         FBI Records          FRE 802
231A         SCO-001966         FBI Records          FRE 802
231B         SCO-001973         FBI Records          FRE 802
231C         SCO-001974         FBI Records          FRE 802
232          SCO-001975         FBI Records          FRE 802
232A         SCO-068800         FBI Records          FRE 802
232B         SCO-068801         FBI Records          FRE 802
232C         SCO-005977         FBI Records          FRE 802
233          SCO-005978         FBI Records          FRE 802


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 Exhibit      Bates Number or    Special Counsel’s               Defendant’s
 Number          Identifier         Description                   Objections
234          SCO-006164         FBI Records          FRE 802; FRE 401/402
235          SCO-006182         FBI Records          FRE 802
236          SCO-006205         FBI Records          FRE 802
237          SCO-018071         FBI Records          FRE 802; FRE 401/402
238          SCO-020180         FBI Records          FRE 802; FRE 401/402
239          SCO-014928         FBI Records          FRE 802; FRE 401/402
240          SCO-011939         FBI Records
241          SCO-016154         FBI Records          FRE 401/402
                                                     FRE 802; see also Def.’s MIL to Exclude
                                                     Testimony or Evidence Pertaining to
                                                     Former FBI Assistant Director Bill
                                                     Priestap’s and Deputy General Counsel
242          SCO-006231         FBI Records          Trisha Anderson’s Notes, ECF 58
                                                     FRE 802; see also Def.’s MIL to Exclude
                                                     Testimony or Evidence Pertaining to
                                                     Former FBI Assistant Director Bill
                                                     Priestap’s and Deputy General Counsel
243          SCO-006764         FBI Records          Trisha Anderson’s Notes, ECF 59
244          SCO-011054         FBI Records
245          SCO-006605         FBI Records          FRE 802
246          SCO-006608         FBI Records          FRE 802
247          SCO-011044         FBI Records          FRE 802; FRE 403
248          SCO-006606         FBI Records          FRE 802
249          SCO-006609         FBI Records          FRE 802
250          SCO-006348         FBI Records          FRE 802
251          SCO-006610         FBI Records          FRE 802
252          SCO-006444         FBI Records          FRE 802
253          SCO-006407         FBI Records          FRE 802
254          SCO-006412         FBI Records          FRE 802
255          SCO-006448         FBI Records          FRE 802
256          SCO-006359         FBI Records          FRE 802
257          SCO-006611         FBI Records          FRE 802
258          SCO-006612         FBI Records          FRE 802
259          SCO-006613         FBI Records          FRE 802
260          SCO-006457         FBI Records          FRE 802
261          SCO-006464         FBI Records          FRE 802
262          SCO-006470         FBI Records          FRE 802
263          SCO-006624         FBI Records          FRE 802
264          SCO-006504         FBI Records          FRE 802
265          SCO-006486         FBI Records          FRE 802


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 Exhibit      Bates Number or    Special Counsel’s                 Defendant’s
 Number          Identifier         Description                    Objections
266          SCO-006495         FBI Records          FRE 802
267          SCO-020513         FBI Records          FRE 802
268          SCO-006506         FBI Records          FRE 802
269          SCO-006360         FBI Records          FRE 802
270          SCO-006367         FBI Records          FRE 802
271          SCO-020182         FBI Records          FRE 802; FRE 401/402
272          SCO-006622         FBI Records          FRE 802
273          SCO-006507         FBI Records          FRE 401/402
274          SC-00081647        FBI Records          FRE 401/402
275          SCO-020796         FBI Records          FRE 401/402
276          SCO-020821         FBI Records          FRE 802; FRE 401/402
277          SCO-008640         FBI Records          FRE 802
278          SCO-006577         FBI Records          FRE 802
279          SCO-006453         FBI Records          FRE 802
280          SCO-018816         FBI Records          FRE 401/402
281          SCO-018830         FBI Records          FRE 401/402
                                Perkins Coie
400          SC-00003733        Records
                                Perkins Coie
401          SC-00003681        Records
                                Perkins Coie
402          SC-00004920        Records              FRE 401/402
                                Perkins Coie
403          SC-00004206        Records
                                Perkins Coie
403 New      SC-00004201        Records
                                Perkins Coie
404          SC-00003539        Records
                                Perkins Coie
405          SC-00003506        Records
                                Perkins Coie
406          SC-00004212        Records
                                Perkins Coie
407          SC-00003455        Records
                                Perkins Coie
408          SC-00108364        Records
                                Perkins Coie
409          SC-00108365        Records
                                Perkins Coie
410          SC-00110926        Records
                                Perkins Coie
411          SC-00004217        Records

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Exhibit       Bates Number or    Special Counsel’s           Defendant’s
Number           Identifier         Description              Objections
                                Perkins Coie
412         SC-00003577         Records
                                Perkins Coie
413         SC-00004221         Records
                                Perkins Coie
414         SC-00003464         Records
                                Perkins Coie
415         SC-00004230         Records
                                Perkins Coie
416         SC-00003467         Records
                                Perkins Coie
417         SC-00003516         Records
                                Perkins Coie
418         SC-00003521         Records
                                Perkins Coie
419         SC-00004240         Records
                                Perkins Coie
420         SC-00004243         Records
                                Perkins Coie
421         SC-00004244         Records
                                Perkins Coie
422         SC-00004247         Records
                                Perkins Coie
422 New     SC-00034228         Records
                                Perkins Coie
423         SC-00003526         Records
                                Perkins Coie
424         SC-00003600         Records
                                Perkins Coie
425         SC-00003619         Records
                                Perkins Coie
426         SC-00003620         Records
                                Perkins Coie
427         SC-00004255         Records
                                Perkins Coie
428         SC-00004250         Records
                                Perkins Coie
428 New     SC-00004251         Records
                                Perkins Coie
429         SC-00003527         Records
                                Perkins Coie
430         SC-00004256         Records
                                Perkins Coie
431         SC-00003545         Records
                                            9
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Exhibit       Bates Number or    Special Counsel’s                 Defendant’s
Number           Identifier         Description                    Objections
                                Perkins Coie
432         SC-00004264         Records
                                Perkins Coie
432 New     SC-00034227         Records
                                Perkins Coie
433         SC-00004257         Records
                                Perkins Coie
434         SC-00004259         Records
                                Perkins Coie
435         SC-00004262         Records
                                Perkins Coie
436         SC-00003388         Records
                                Perkins Coie
437         SC-00003578         Records
                                Perkins Coie
438         SC-00004312         Records
                                Perkins Coie
439         SC-00004340         Records
                                Perkins Coie
440         SC-00003567         Records
                                Perkins Coie
441         SC-00003573         Records
                                Perkins Coie
442         SC-00004260         Records
                                Perkins Coie
443         SC-00003550         Records
                                Perkins Coie
444         SC-00004268         Records
                                Perkins Coie
444 New     SC-00034223-1       Records
                                Perkins Coie
445         SC-00032859         Records
                                                     FRE 403; see also Def.’s MIL to Preclude
                                                     Special Counsel from Presenting Evidence
                                Perkins Coie         Regarding Matters Subject to the
446         SC-00106812         Records              Attorney-Client Privilege, ECF No. 57
                                Perkins Coie
447         SC-00004296         Records
                                Perkins Coie
448         SC-00004278         Records
                                Perkins Coie
449         SC-00004279         Records
                                Perkins Coie
449A        SC-00004280         Records

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Exhibit       Bates Number or    Special Counsel’s                 Defendant’s
Number           Identifier         Description                    Objections
                                Perkins Coie
450         SC-00003552         Records
                                Perkins Coie
451         SC-00004285         Records
                                Perkins Coie
452         SC-00004534         Records
                                Perkins Coie
452 New     SC-00034187         Records
                                Perkins Coie
453         SC-00003641         Records
                                Perkins Coie
454         SC-00004536         Records
                                Perkins Coie
455         SC-00003558         Records
                                Perkins Coie
456         SC-00004297         Records
                                Perkins Coie
457         SC-00004343         Records
                                Perkins Coie
458         SC-00004346         Records
                                Perkins Coie
459         SC-00004356         Records
                                Perkins Coie
460         SC-00004366         Records
                                Perkins Coie
461         SC-00004394         Records
                                Perkins Coie
462         SC-00003650         Records
                                Perkins Coie
463         SC-00110918         Records              FRE 401/402
                                Perkins Coie
464         SC-00004563         Records              FRE 401/402
                                Perkins Coie
465         SC-00004572         Records              FRE 401/402
                                Perkins Coie
466         SC-00003741         Records              FRE 401/402
                                Perkins Coie
467         SC-00004583         Records              FRE 401/402
                                Perkins Coie
468         SC-00001737         Records
                                Perkins Coie
469         SC-00001751         Records
                                Perkins Coie
470         SC-00001808         Records
                                            11
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Exhibit    Bates Number or    Special Counsel’s          Defendant’s
Number        Identifier         Description             Objections
                             Perkins Coie
471       SC-00001818        Records
                             Perkins Coie
472       SC-00001851        Records
                             Perkins Coie
473       SC-00001852        Records
                             Perkins Coie
474       SC-00001861        Records
                             Perkins Coie
475       SC-00001876        Records
                             Perkins Coie
476       SC-00001919        Records
                             Perkins Coie
477       SC-00001920        Records
                             Perkins Coie
478       SC-00001926        Records
                             Perkins Coie
479       SC-00001934        Records
                             Perkins Coie
480       SC-00001940        Records
                             Perkins Coie
481       SC-00001946        Records
                             Perkins Coie
482       SC-00001955        Records
                             Perkins Coie
483       SC-00003129        Records
                             Perkins Coie
484       SC-00003130        Records
                             Perkins Coie
485       SC-00003133        Records
                             Perkins Coie
486       SC-00003220        Records
                             Perkins Coie
487       SC-00003233        Records
                             Perkins Coie
488       SC-00003287        Records
                             Perkins Coie
489       SC-00003288        Records
                             Perkins Coie
490       SC-00003293        Records




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Exhibit    Bates Number or   Special Counsel’s                   Defendant’s
Number        Identifier       Description                        Objections
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
600       SC-00102335        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
601       SC-00102334        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
602       SC-00102333        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
603       SC-00102329        Fusion GPS Records   ECF No. 57
604       SC-00027311        Fusion GPS Records   FRE 401/402; FRE 403
605       SC-00027301        Fusion GPS Records   FRE 401/402; FRE 403
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
606       SC-00102263        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
607       SC-00102261        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
608       SC-00102260        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
609       SC-00102259        Fusion GPS Records   ECF No. 57



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Exhibit    Bates Number or   Special Counsel’s                   Defendant’s
Number        Identifier       Description                        Objections
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
610       SC-00102257        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
611       SC-00102255        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
612       SC-00102256        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
613       SC-00102253        Fusion GPS Records   ECF No. 57
614       SC-00027288        Fusion GPS Records   FRE 401/402; FRE 403
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
615       SC-00102573        Fusion GPS Records   ECF No. 57
616       SC-00027233        Fusion GPS Records   FRE 401/402; FRE 403
617       SC-00027380        Fusion GPS Records   FRE 401/402; FRE 403
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
618       SC-00027224        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
619       SC-00027232        Fusion GPS Records   ECF No. 57
                                                  FRE 401/402; FRE 403; see also Def.’s
                                                  MIL to Preclude Special Counsel from
                                                  Presenting Evidence Regarding Matters
                                                  Subject to the Attorney-Client Privilege,
620       SCO-074465         Fusion GPS Records   ECF No. 57
700       SCO-000569         Neustar Records      FRE 401/402

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 Exhibit    Bates Number or    Special Counsel’s                Defendant’s
 Number        Identifier         Description                   Objections
701        SCO-000573         Neustar Records      FRE 401/402
702        SCO-000571         Neustar Records      FRE 401/402
703        SCO-000581         Neustar Records      FRE 401/402
704        SCO-000587         Neustar Records      FRE 401/402
705        SC-00029962        Neustar Records      FRE 401/402
706        SCO-000592         Neustar Records      FRE 401/402
707        SCO-000602         Neustar Records      FRE 401/402
708        SCO-000595         Neustar Records      FRE 401/402
709        SCO-000609         Neustar Records      FRE 401/402
710        SCO-000614         Neustar Records      FRE 802; FRE 401/402
711        SCO-000679         Neustar Records      FRE 401/402
712        SCO-000678         Neustar Records      FRE 401/402
713        SCO-000680         Neustar Records      FRE 401/402
714        SCO-000572         Neustar Records      FRE 401/402
715        SC-00030481        Neustar Records      FRE 401/402
800        SCO-023604         CIA Records
801        SCO-023605         CIA Records
802        SCO-023606         CIA Records
803        SCO-023607         CIA Records
804        SCO-023608         CIA Records
805        SCO-023609         CIA Records
806        SC-00081618        CIA Records
807        SC-00081620        CIA Records
808        SC-00081641        CIA Records
809        SC-00081631        CIA Records
810        SC-00081639        CIA Records
811        SC-00081626        CIA Records
812        SC-00081622        CIA Records
813        SC-00081616        CIA Records
814        SCO-074877         CIA Records
815        SC-00081645        CIA Records          FRE 802; FRE 401/402
816        SCO-074879         CIA Records          FRE 401/402
817        SC-00081628        CIA Records
818        SC-00081625        CIA Records          FRE 802; FRE 401/402
819        SCO-023859         CIA Records          FRE 401/402
900        SCO-000350         DOD Records          FRE 401/402
901        SCO-000345         DOD Records          FRE 401/402
1000       SC-00081613        Zetalytics Records   FRE 401/402
                                                   FRE 401/402 - document goes through
1001       SCO-075822         Zetalytics Records   2021.

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 Exhibit    Bates Number or    Special Counsel’s               Defendant’s
 Number        Identifier         Description                   Objections
1100       SC-00027203        Infoblox Records     FRE 802; FRE 401/402
1101       SC-00027205        Infoblox Records     FRE 802; FRE 401/402
1102       SC-00027207        Infoblox Records     FRE 802; FRE 401/402
1103       SC-00027209        Infoblox Records     FRE 802; FRE 401/402
1104       SC-00027211        Infoblox Records     FRE 802; FRE 401/402
1105       SC-00027213        Infoblox Records     FRE 802; FRE 401/402
1106       SC-00027215        Infoblox Records     FRE 802; FRE 401/402
1107       SC-00027217        Infoblox Records     FRE 802; FRE 401/402
1108       SC-00027219        Infoblox Records     FRE 802; FRE 401/402
1109       SC-00027221        Infoblox Records     FRE 802; FRE 401/402
1110       SC-00027222        Infoblox Records     FRE 802; FRE 401/402
                              Packet Forensics
1200       SC-00034317        Records              FRE 802; FRE 401/402
                              Packet Forensics
1201       SCO-001005         Records              FRE 802; FRE 401/402
           ATT_RECORDS_K
1300       EY                 AT&T Records
1301       CERT_3401717.001   AT&T Records
           REPORTAU_34017
1302       17.001             AT&T Records
           REPORTCT_34017
1303       17.001             AT&T Records
           REPORTICDR_340
1304       1717.001           AT&T Records         FRE 401/402
           REPORTIMEI_3401
1305       717.001            AT&T Records
           REPORTIMSI_3401
1306       717.001            AT&T Records
           REPORTLANDLIN
1307       E_3401717.001      AT&T Records
           REPORTSTIRSHA
1308       KEN_3401717.001    AT&T Records
1400       22182004tolls2     Verizon Records
           Certification of
           records NJ
           conformed copy
1401       sesig              Verizon Records
1500       SCO-023832         Baker Records
1600       SC-00004933        DeJong Records       FRE 401/402
1601       SC-00004938        DeJong Records       FRE 401/402
1602       SC-00004939        DeJong Records       FRE 401/402


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Exhibit     Bates Number or      Special Counsel’s                    Defendant’s
Number         Identifier          Description                         Objections
                                                     FRE 611; see also, e.g., United States v.
                                                     Dolney, No. 04-CR-159 (NGG), 2005 WL
                                                     2129169, at *4 (E.D.N.Y. Sept. 1, 2005),
                                                     aff’d sub nom. United States v. Pirgousis,
                                                     290 F. App’x 388 (2d Cir. 2008) ("While
                                                     it is proper for pedagogical devices to be
                                                     shown to the jury, to assist in its
                                                     understanding of testimony and documents
                                                     that have been produced they should not
           DNS and TOR                               be admitted as an exhibit or taken to the
1700       Primers PowerPoint   Expert Materials     jury room.") (internal citation omitted)
           Packet Forensics
1800       photo                Novick Records       FRE 401/402
1801       SC-00083451          Novick Records       FRE 401/402
1802       SC-00083453          Novick Records       FRE 401/402
1803       SC-00083458          Novick Records       FRE 401/402
1900       SC-00032158          Patel Records
2000       SCO-074010           Yegerman Records     FRE 401/402
Unmarked   Map to Staples       Public               FRE 401/402
                                                     FRE 401/402; FRE 403; see also Def.’s
                                                     MIL to Preclude Special Counsel from
                                                     Presenting Evidence Regarding Matters
                                Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0002227          Records              ECF No. 57
                                                     FRE 401/402; FRE 403; see also Def.’s
                                                     MIL to Preclude Special Counsel from
                                                     Presenting Evidence Regarding Matters
                                Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0002229          Records              ECF No. 57
                                                     FRE 401/402; FRE 403; see also Def.’s
                                                     MIL to Preclude Special Counsel from
                                                     Presenting Evidence Regarding Matters
                                Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0003436          Records              ECF No. 57
                                                     FRE 403; see also Def.’s MIL to Preclude
                                                     Special Counsel from Presenting Evidence
                                Perkins Coie         Regarding Matters Subject to the
Unmarked   PROD0004254          Records              Attorney-Client Privilege, ECF No. 57
                                                     FRE 401/402; FRE 403; see also Def.’s
                                                     MIL to Preclude Special Counsel from
                                                     Presenting Evidence Regarding Matters
                                Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0004263          Records              ECF No. 57

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Exhibit     Bates Number or    Special Counsel’s                  Defendant’s
Number         Identifier        Description                       Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0004272        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0004324        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0004740        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0004775        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0004939        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0004956        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD0005376        Records              ECF No. 57
                                                   FRE 403; see also Def.’s MIL to Preclude
                                                   Special Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   PROD0006008        Records              Attorney-Client Privilege, ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   PROD330966         Records              ECF No. 57

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Exhibit     Bates Number or    Special Counsel’s          Defendant’s
Number         Identifier         Description             Objections
                              Perkins Coie
Unmarked   SC-00003404        Records
                              Perkins Coie
Unmarked   SC-00003683        Records
                              Perkins Coie
Unmarked   SC-00004210-1      Records
                              Perkins Coie
Unmarked   SC-00004232-1      Records
                              Perkins Coie
Unmarked   SC-00004233-2      Records
                              Perkins Coie
Unmarked   SC-00004238        Records
                              Perkins Coie
Unmarked   SC-00004245        Records
                              Perkins Coie
Unmarked   SC-00004246        Records
                              Perkins Coie
Unmarked   SC-00004248        Records
                              Perkins Coie
Unmarked   SC-00004266        Records
                              Perkins Coie
Unmarked   SC-00004267        Records
                              Perkins Coie
Unmarked   SC-00004269        Records
                              Perkins Coie
Unmarked   SC-00004283        Records
                              Perkins Coie
Unmarked   SC-00004287        Records
                              Perkins Coie
Unmarked   SC-00004289        Records
                              Perkins Coie
Unmarked   SC-00004299        Records
                              Perkins Coie
Unmarked   SC-00004300        Records
                              Perkins Coie
Unmarked   SC-00004301        Records
                              Perkins Coie
Unmarked   SC-00004304        Records
                              Perkins Coie
Unmarked   SC-00004305        Records
                              Perkins Coie
Unmarked   SC-00004308        Records
                              Perkins Coie
Unmarked   SC-00004361        Records
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Exhibit     Bates Number or    Special Counsel’s               Defendant’s
Number         Identifier         Description                  Objections
                              Perkins Coie
Unmarked   SC-00004364-1      Records
                              Perkins Coie
Unmarked   SC-00004364-2      Records
                              Perkins Coie
Unmarked   SC-00004364        Records
                              Perkins Coie
Unmarked   SC-00004367        Records
                              Perkins Coie
Unmarked   SC-00004521        Records
                              Perkins Coie
Unmarked   SC-00004545-1      Records
                              Perkins Coie
Unmarked   SC-00004545        Records
                              Perkins Coie
Unmarked   SC-00004562        Records
                              Perkins Coie
Unmarked   SC-00004630        Records
                              Perkins Coie
Unmarked   SC-00004631        Records
                              Perkins Coie
Unmarked   SC-00004633        Records
                              Perkins Coie
Unmarked   SC-00004634        Records
                              Perkins Coie
Unmarked   SC-00004635        Records
                              Perkins Coie
Unmarked   SC-00004636        Records
                              Perkins Coie
Unmarked   SC-00004637-1      Records
                              Perkins Coie
Unmarked   SC-00004637        Records
                              Perkins Coie
Unmarked   SC-00004638        Records
Unmarked   SC-00027265        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027272-1      Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027272        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027278        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027283        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027291        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027298        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027301        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027306        Fusion GPS Records   FRE 802; FRE 401/402

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 Exhibit    Bates Number or    Special Counsel’s               Defendant’s
 Number        Identifier         Description                   Objections
Unmarked   SC-00027309        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027314        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027350        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027456        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027471        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027473        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027475        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027483        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027487        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027491        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027491A       Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027501        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027501A       Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027516        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027516A       Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027527        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027542        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027557        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027557A       Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027566        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027566A       Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027575        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027575A       Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027585        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00027587        Fusion GPS Records   FRE 802; FRE 401/402
                              Perkins Coie
Unmarked   SC-00032895        Records
                              Perkins Coie
Unmarked   SC-00034186        Records
                              Perkins Coie
Unmarked   SC-00034188        Records
                              Perkins Coie
Unmarked   SC-00034189        Records
                              Perkins Coie
Unmarked   SC-00034201        Records
                              Perkins Coie
Unmarked   SC-00034202        Records
                              Perkins Coie
Unmarked   SC-00034203        Records
                              Perkins Coie
Unmarked   SC-00034222        Records

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Exhibit     Bates Number or    Special Counsel’s                  Defendant’s
Number         Identifier         Description                     Objections
                              Perkins Coie
Unmarked   SC-00034226        Records
                              Perkins Coie
Unmarked   SC-00034231        Records
                              Perkins Coie
Unmarked   SC-00034232        Records
                              Perkins Coie
Unmarked   SC-00034233        Records
                              Perkins Coie
Unmarked   SC-00034235-1      Records
                              Perkins Coie
Unmarked   SC-00034236-1      Records
                              Perkins Coie
Unmarked   SC-00034237-1      Records
                              Perkins Coie
Unmarked   SC-00034239-1      Records
                              Perkins Coie
Unmarked   SC-00034240-1      Records
Unmarked   SC-00081677        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00081678        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00082215        Fusion GPS Records   FRE 802; FRE 401/402
Unmarked   SC-00082558        Fusion GPS Records   FRE 802; FRE 401/402
                              Perkins Coie
Unmarked   SC-00083826        Records
                              Perkins Coie
Unmarked   SC-00083840        Records
Unmarked   SC-00100359        Fusion GPS Records
                                                 FRE 401/402; FRE 403; see also Def.’s
                                                 MIL to Preclude Special Counsel from
                                                 Presenting Evidence Regarding Matters
                                                 Subject to the Attorney-Client Privilege,
Unmarked   SC-00101572        Fusion GPS Records ECF No. 57
                                                 FRE 401/402; FRE 403; see also Def.’s
                                                 MIL to Preclude Special Counsel from
                                                 Presenting Evidence Regarding Matters
                                                 Subject to the Attorney-Client Privilege,
Unmarked   SC-00101573        Fusion GPS Records ECF No. 57
                                                 FRE 401/402; FRE 403; see also Def.’s
                                                 MIL to Preclude Special Counsel from
                                                 Presenting Evidence Regarding Matters
                                                 Subject to the Attorney-Client Privilege,
Unmarked   SC-00101574        Fusion GPS Records ECF No. 57


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Exhibit     Bates Number or   Special Counsel’s                   Defendant’s
Number         Identifier       Description                        Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101584        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101691        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101699        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101734        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101735        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101736        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101737        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101738        Fusion GPS Records   ECF No. 57




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Exhibit     Bates Number or   Special Counsel’s                   Defendant’s
Number         Identifier       Description                        Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101758        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00101758A       Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102216        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102233        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102234        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102264A       Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102596        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102628        Fusion GPS Records   ECF No. 57




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Exhibit     Bates Number or   Special Counsel’s                   Defendant’s
Number         Identifier       Description                        Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102630        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102632        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102632A       Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102698        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102700A       Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102771        Fusion GPS Records   ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                                                   Subject to the Attorney-Client Privilege,
Unmarked   SC-00102772        Fusion GPS Records   ECF No. 57
                              Perkins Coie
Unmarked   SC-00105038        Records
                              Perkins Coie
Unmarked   SC-00105044        Records
                              Perkins Coie
Unmarked   SC-00105103        Records
                              Perkins Coie
Unmarked   SC-00105107        Records


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Exhibit     Bates Number or    Special Counsel’s                 Defendant’s
Number         Identifier         Description                    Objections
                              Perkins Coie
Unmarked   SC-00105113        Records
                              Perkins Coie
Unmarked   SC-00105116        Records
                              Perkins Coie
Unmarked   SC-00105136        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00105270        Records
                              Perkins Coie
Unmarked   SC-00105349        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106167        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106247        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106249        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106250        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106252        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106257        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106266        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106267        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106268        Records              FRE 401/402
                              Perkins Coie
Unmarked   SC-00106269        Records              FRE 401/402
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00106294        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00106295        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00106296        Records              Attorney-Client Privilege, ECF No. 57



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Exhibit     Bates Number or    Special Counsel’s                 Defendant’s
Number         Identifier        Description                      Objections
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00106297        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00106298        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00106299        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00106588        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00106595        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00106807        Records              Attorney-Client Privilege, ECF No. 57
                                                   FRE 401/402; see also Def.’s MIL to
                                                   Preclude Special Counsel from Presenting
                              Perkins Coie         Evidence Regarding Matters Subject to the
Unmarked   SC-00107161        Records              Attorney-Client Privilege, ECF No. 57
                                                   FRE 401/402; see also Def.’s MIL to
                                                   Preclude Special Counsel from Presenting
                              Perkins Coie         Evidence Regarding Matters Subject to the
Unmarked   SC-00107373        Records              Attorney-Client Privilege, ECF No. 57
                                                   FRE 401/402; see also Def.’s MIL to
                                                   Preclude Special Counsel from Presenting
                              Perkins Coie         Evidence Regarding Matters Subject to the
Unmarked   SC-00107585        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00108020        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00108028        Records              Attorney-Client Privilege, ECF No. 57

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Exhibit     Bates Number or    Special Counsel’s                  Defendant’s
Number         Identifier        Description                       Objections
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00108033        Records              Attorney-Client Privilege, ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108038        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108047        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108268        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108269        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108271        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108344        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108351        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108353        Records              ECF No. 57

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Exhibit     Bates Number or    Special Counsel’s                  Defendant’s
Number         Identifier        Description                       Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108357        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108359        Records              ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00108361        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00108362        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00108363        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00108370        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00108612        Records              Attorney-Client Privilege, ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00108614        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109354        Records              ECF No. 57




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Exhibit     Bates Number or    Special Counsel’s                  Defendant’s
Number         Identifier        Description                       Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109355        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109356        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109357        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109358        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109359        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109362        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109363        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109364        Records              ECF No. 57




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Exhibit     Bates Number or    Special Counsel’s                  Defendant’s
Number         Identifier        Description                       Objections
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109365        Records              ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00109366        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00109368        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00109369        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00109370        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00109371        Records              Attorney-Client Privilege, ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109373        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109375        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109376        Records              ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00109377        Records              Attorney-Client Privilege, ECF No. 57

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Exhibit     Bates Number or    Special Counsel’s                  Defendant’s
Number         Identifier        Description                       Objections
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00109379        Records              Attorney-Client Privilege, ECF No. 57
                                                   See Def.’s MIL to Preclude Special
                                                   Counsel from Presenting Evidence
                              Perkins Coie         Regarding Matters Subject to the
Unmarked   SC-00109381        Records              Attorney-Client Privilege, ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109387        Records              ECF No. 57
                                                   FRE 401/402; FRE 403; see also Def.’s
                                                   MIL to Preclude Special Counsel from
                                                   Presenting Evidence Regarding Matters
                              Perkins Coie         Subject to the Attorney-Client Privilege,
Unmarked   SC-00109388        Records              ECF No. 57
                              Perkins Coie
Unmarked   SC-00110931        Records
                              Perkins Coie
Unmarked   SC-00110932        Records




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